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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MICHAEL ESTRADA,

      Plaintiff,                                             Civil Action File No.:
                                                             1:20-cv-01234-TWT

v.

BEALL’S, INC. a Foreign Profit
Corporation, d/b/a Beall’s; BEALL’S
OUTLET STORES, INC., a Foreign
Profit Corporation, d/b/a Beall’s Outlet,

     Defendants.
______________________________________________________/

                       NOTICE OF VOLUNTARY
              DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Michael

Estrada hereby gives notice that the above-styled action is voluntarily dismissed,

with prejudice, as to all claims, causes of action, and parties, with each party bearing

that party’s own attorney fees and costs.

Dated: November 10, 2020.

                                 Respectfully submitted,



                                 /s/ Matthew N. Pope
                                 Matthew N. Pope
                                 GA Bar No. 584216
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                           Counsel for Plaintiff Michael Estrada



MATTHEW N. POPE, P.C.
900 2nd Avenue
P.O. Box 2624
Columbus, Georgia 31902
Ph. (706) 324-2521
matt@mpopelaw.com




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                        CERTIFICATE OF SERVICE

      I hereby certify that on this day the foregoing NOTICE OF VOLUNTARY

DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i) was served upon

Defendant via transmission of Notices of Electronic Filings generated by CM/ECF.

Dated: November 10, 2020.

                              Respectfully submitted,

                              /s/ Matthew N. Pope
                              Matthew N. Pope
                              GA Bar No. 584216

                              Counsel for Plaintiff Michael Estrada


MATTHEW N. POPE, P.C.
900 2nd Avenue
P.O. Box 2624
Columbus, Georgia 31902
Ph. (706) 324-2521
matt@mpopelaw.com




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